Case Z

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 1of13 Page ID #:296

FILED

J. Andrew Coombs (SBN 123881)
andy@coombspe.com

Nicole L. Drey (SBN 250235) QI AUG -9 pH 2: 51,
nicole@coombspc.com

J. Andrew Coombs, A Prof. Corp. “eee 2 CISTRICT COURT
517 East Wilson Avenue, Suite 202 n't \ nao CALIF
Glendale, California 91206 ey: BLES
Telephone: Big 500-3200 PN ey ee cantata ye
Facsimile: (818) 502-3201
Attorneys for Plaintiff
Warner Bros. Home Entertainment Inc.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Warner Bros. Home Entertainment Inc., Case No.: CV13-0889 DMG
(DTBx)
Plaintiff,
PLAINTIFF’S FIRST AMENDED
v. COMPLAINT FOR COPYRIGHT
INFRINGEMENT

Brilliant S stem USA, Inc., a corporation
mazon.com Seller DEMAND FOR A JURY TRIAL
aealmelora Greg Colombo, an individual
and d/b/a Amazon.com Seller
dealmakerz; Boris Mazalkov, an
individual and d/b/a Amazon.com Seller
dealmakerz, and Does 4 through 10,
inclusive,

Defendants.

Plaintiff Warner Bros. Home Entertainment Inc. (“Warner Bros.”) for its First
Amended Complaint allege as foilows: |

A. Introduction

I. | Warner Bros. owns exclusive U.S. distribution rights in various creative
works, including, but not limited to, The Wire (“the Warner Bros. Works”). Each of
the Warner Bros. Works is entitled to copyright protection. Defendants, through the
online venue Amazon.com, distribute, promote, offer for sale and sell counterfeit
copies of the Warner Bros. Works (the “Counterfeit Product”), Warner Bros. is

informed and believes and based thereon alleges that this infringement activity is

Wainer Bros. y. Mazalkoy, et al.: First Amended Conplaint -l-

 

 

 
Case #:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 20f13 Page ID #:297

10
i
12
13
14
15
16
17
18
19

20

21

22

23

24

25

26

27

28

 

 

systematic and willful or with reckless disregard of Warner Bros.’ intellectual
property rights. Warner Bros. asks that this Court enjoin that activity and order
Defendants to pay damages pursuant to the Copyright Act of 1976, 17 U.S.C. § 101,
et seq. (the “Copyright Act.”). :

B. Jurisdiction and Venue

2. Plaintiff brings this action pursuant to 17 U.S.C. §§ 101, et seg. The
Court has jurisdiction over the subject matter pursuant to 28 U.S.C. § 1331 and §
1338(a).

3. The events giving rise to the claim alleged herein occurred, among other
places, within this judicial district. Venue in the Central District of California is
proper pursuant to 28 U.S.C. § 1391(b) and § 1400(a).

C. Warner Bros,

4, Warner Bros. is a corporation duly organized and existing under the
laws of the State of Delaware, having its principal place of business in Burbank,
California. .

5. Warner Bros. and certain of its affiliated companies are engaged in a
variety of businesses including, without limitation, the production and distribution of
motion pictures and television programs.

6. | Warner Bros. owns exclusive rights under the Copyright Act to the
Warner Bros. Works, including the rights to reproduce, distribute or license the
reproduction and distribution of the motion pictures in video format in the United
States, including, but not limited to, those copyrights that are the subject of the
copyright registrations which are listed in Exhibit “A,” attached hereto, and
incorporated herein by this reference. Video format includes, but is not limited to,

digital versatile discs (“DVDs”) and Blu-ray discs.

Wamier Bros. v, Mazalkov, et al.: First Amended Conplaint -2-

 

 
Case

10
ir
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

P:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 30f13 Page ID #:298

7, The expression and other distinctive features of the Warner Bros. Works
are wholly original with Warner Bros., its licensors and/or assignors and, as fixed in
various tangible media, are copyrightable subject matter under the Copyright Act.

8. Warner Bros. has secured from Warner Bros. Entertainment Inc. and
Home Box Office, Inc. the exclusive rights and privileges to reproduce, distribute, or
license the reproduction or distribution of the Warner Bros. Works throughout the
United States. Warner Bros., its affiliates, licensees and/or assignors have complied in
ali respects with the laws governing copyright.

9, | The Warner Bros. Works have been manufactured, sold and/or
otherwise distributed in conformity with the provisions of the copyright laws.
Warner Bros., its affiliates, licensees and/or assignors have complied with their
obligations under the copyright laws, and Warner Bros., in its own right or as
successor-in-interest, has at all times been and still is the sole proprietor or otherwise
authorized to enforce all right, title and interest in and to the copyrights or to enforce
its exclusive rights for home video distribution in each of the Warner Bros. Works.

D. Defendants

10. Defendant Brilliant System USA, Inc. (““BSUI”) is a New York
corporation. Plaintiff is informed and believes that BSUI has its principal place of
business in Valley Stream, in the State of New York. Plaintiff is further informed
and believes, and upon that basis alleges, that BSUI transacts business on
Amazon.com using the seller identities, “dealmakerz” and “Dealz Marketing” and
does business in this judicial district through offers and sales of the Counterfeit
Product in this judicial district, among other places.

11. Defendant Greg Colombo (“Colombo”) is an individual and does
business on Amazon.com using the seller identities, “dealmakerz” and “Dealz
Marketing.” Plaintiff is informed and believes that Colombo is a resident of Elmont,

in the State of New York. Plaintiff is informed and believes Colombo transacts

Warner Bros. y. Mazalkov, ct al.: First Amended Conplaint -3-

 

 

 

 
Case

10
il
12
[3
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

P:13-cv-00889-DMG-DTB Document16 Filed 08/09/13 Page 4of13 Page ID #:299

business in this judicial district through offers and sales of the Counterfeit Product in
this judicial district, among other places.

12. Defendant Boris Mazalkov (“Mazalkov”) is an individual and does
business on Amazon.com using the seller identities, “dealmakerz” and “Dealz

Marketing.” Plaintiff is informed and believes that Mazalkov is a resident of Valley
Stream, in the State of New York. Plaintiff is informed and believes Mazalkov
transacts business in this judicial district through offers and sales of the Counterfeit
Product in this judicial district, among other places.

13. Upon information and belief, Does 4 — 10 are either entities or
individuals who are residents of or present in this judicial district and are subject to the
jurisdiction of the Court.. Upon information and belief, Does 4 — 10 are principals,
supervisory employees, or suppliers of Defendant or other entities or individuals who,
in this judicial district, are manufacturing, distributing, selling and/or offering for sale
merchandise which infringes the Warner Bros. Works. The identities of the various
Does are unknown to Warner Bros, at this time, The Complaint will be amended to
include the names of such individuals when identified. The named defendants and
Does 4 — 10 are collectively referred to herein as “Defendants.”

E.  Defendants' Infringing Activities

14. Amazon.com, Inc. is a Delaware corporation with its principal place of
business in Seattle, Washington. Amazon.com, Inc. operates retail websites which
include www.amazon.com, www.amazon.co.uk, www.amazon.de, |
www.amazon.co.jp, www.amazon.fr, www.amazon.ca, WwWw.amazon.cn,
www.amazon.it and www.amazon.es.

15. Among other things, through its websites, Amazon.com, Inc. offers e-
commerce platforms that enable third parties to sell products on Amazon.com (the
“Website”). The Website provides services to third-party sellers, including the

Defendants. Such services include, but are not limited to, the design of the webpage

Wamer Bros, v, Mazalkov, et al.: First Amended Complaint -4.

 

 

 
Case

10
| 1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

kt

 

i: 13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 5of13 Page ID #:300

describing and/or illustrating the product being offered by third-party Amazon.com
sellers, access to the Internet community seeking product offered by the third-party
sellers, and fulfillment services through which Amazon.com sellers can have goods
shipped from Amazon.com warehouses using Amazon.com employees to perform
packaging and shipping services.

16. More than two million Amazon.com users employ the Amazon.com e-
commerce platform to offer product or services to Internet users. Smaller sellers
participate in Amazon Marketplace where they offer new, used and collectible
selections at fixed prices to Amazon customers around the world.

17. Among the third-party sellers who employ the Website platform to
market, offer, sell and distribute their merchandise are the Defendants. Defendants
have employed the Website to market, offer, sell and distribute the Counterfeit
Product. Warner Bros. is informed and believes and based thereon alleges that
Defendants have distributed, advertised and/ot sold and continue to copy, reproduce,
distribute, advertise and/or sell unauthorized copies of motion pictures owned by
Water Bros., including, but not necessarily limited to, the Warner Bros. Works.
identified in paragraph 1, above, and Exhibit A. Defendants do so using the
Website. The copies sold by Defendants are unauthorized. Defendants have not been
authorized by Warner Bros. to reproduce, distribute, sell or offer for sale any of the
Warner Bros. Works.

18. By engaging in this conduct, Defendants have acted in willful disregard
of laws. protecting Warner Bros,’ copyrights. Warner Bros. has sustained and will
continue to sustain substantial damage to the value of its creative works, specifically
including the Warner Bros. Works.

F. Warner Bros.’ Damages

19. Warner Bros. is informed and believes, and upon that basis alleges, that

the Defendants have each obtained gains, profits and advantages as a result of their

Wamer Bros, v. Mazatkoy, et al.; First Amended Conplaint + §-

 

 

 
Case

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
a4
25
26
27

28

2:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 6of13 Page ID #:301

infringing activity in amounts within the jurisdiction of the Court.

20. Warner Bros. is informed and believes, and upon that basis alleges, that
it has suffered and continues to suffer direct and actual damages as a result of
Defendants’ infringing conduct, in amounts within the jurisdiction of the Court. In
order to determine the full extent of such damages, including such profits as may be
recoverable under 17 U.S.C. § 504, Warner Bros. will require an accounting from
each Defendant of all monies generated from the promotion, display, sale and offer
for sale of the Defendants’ goods and services using the Warner Bros. Works. In the
alternative, Warner Bros. may elect to recover statutory damages pursuant to 17
U.S.C. § 504 (c) for each of the Warner Bros. Works infringed.

21. Warner Bros. has no other adequate remedy at law and has suffered and
continues to suffer irreparable harm and damage as a result of the above-described
acts. Warner Bros. is informed and believes, and upon that basis alleges, that, unless
enjoined by the Court, Defendants' infringing activity will continue, with attendant
irreparable harm to Warner Bros. Accordingly, Warner Bros. seeks preliminary and
permanent injunctive relief pursuant to 17 U.S.C § 502 and seizure of the Counterfeit
Product, including the means of production as provided by 17 U.S.C. § 503.

22. By reason of the foregoing, Warner Bros. has incurred and will continue
to incur attorneys’ fees and other costs in connection with the prosecution of its claims,
which attorneys’ fees and costs Warner Bros. is entitled to recover from the
Defendants, and each of them, pursuant to 17 U.S.C. § 505.

23. Warner Bros. is without an adequate remedy at law in that damages are
difficult to ascertain and, unless the Defendants' acts are enjoined, Warner Bros. will
be irreparably harmed by Defendants' deliberate and systematic infringement of its
rights. |

PRAYER FOR RELIEF

WHEREFORE, Warner Bros. asks this Court to order that:

Wamer Bros. vy. Mazalkov, et al,; First Amended Complaint -6-

 

 

 

 
Case [P:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 7o0f13 Page ID #:302
| 1. Defendants, their agents, servants, employees, representatives,
? |i successor and assigns, and all persons, firms, corporations or other entities in active
3 || concert or participation with any of the said Defendants, be immediately and
4 permanently enjoined from directly or indirectly infringing the Warner Bros. Works |
> ll in any manner, including generally, but not limited to: |
6 a. Reproducing, distributing, shipping, selling or offering for sale
7 unauthorized copies, in any format, of any of the Warner Bros. Works;
8 b. Aiding or abetting the reproduction, distribution, shipment, sale or offer
9 for sale of any unauthorized copies of any of the Warner Bros. Works;
10 or
"I c. Marketing, advertising and/or promoting any unauthorized copies of the
2 Warner Bros. Works.
8 2. That Warner Bros. and its designees are authorized to seize the following
'4 || items which are in Defendants’ possession, custody or control:
8 a. All Counterfeit Product;
‘6 b, Any other unauthorized product which reproduces, copies,
M counterfeits, imitates or bear any of the Warner Bros. Works, or any
8 part thereof; |
" c, Any molds, screens, patterns, plates, negatives, machinery or
*” equipment, specifically including computers, servers, optical disc
a burners and other hardware used for making or manufacturing the
* Counterfeit Product or unauthorized product which reproduces, copies,
° counterfeits, imitates or bear any of the Warner Bros. Works, or any
” part thereof.
a 3. Defendants be required to pay actual damages increased to the
*° | maximum extent permitted by law and/or statutory damages at Warner Bros.’
"7 election;
28
Warner Bros. v. Mazalkov, et al. First Amended Complaint -7~

 

 

 

 
Case

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 80f13 Page ID #:303

4, Defendants be required to account for and pay over to Warner Bros. all
damages sustained by Warner Bros. and profits realized by Defendants by reason of
Defendants’ unlawful acts herein alleged and that those profits be increased as

provided by law;

5. Defendants be required to pay Warner Bros. their costs of this action

and reasonable attorneys’ fees; and

6. Warner Bros. be granted all other and further relief the Court may deem

just and proper under the circumstances.

Dated: August ae 2013 J. Andrew Coombs, ofessional Corp.

 

By:
J. Andrew Coombs
Nicole I.\Drey
Attorneys for PYaintiff Warner Bros. Home
Entertainment Inc.

Warner Bros, y. Mazalkoy, et al.: First Amended Complaint -8-

 

 

 
Case |P:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 9of13 Page ID #:304

J DEMAND FOR JURY TRIAL
2 Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff Warner Bros.

Home Entertainment Inc. hereby demands a trial by jury of all issues so triable.

> |i Dated: August o 2012 J, Andrew Coomb rofessional Corp.

 

7 By:
J. Andrew Coombs
8 Nicole |L. Drey
Attorneys fo Plaintiff Warner Bros. Home
9 Entertainment Inc.

10
li
12
13
14
15
16
17
18
19
20
21.
22
23
24
25
26
27

28

Wamer Bros. v. Mazalkoy, et al.: First Amended Complaint -9-

 

 

 

 
Case Z

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24

25
26
27

28

 

 

13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 10 0f13 Page ID #:305

EXHIBIT A

COPYRIGHT REGISTRATIONS

 

Copyright

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Registration Title of Work: Claimant of Work:
THE WIRE: Season One
PA 1-085-787 | THE WIRE: The Target | Home Box Office, Inc.
PA 1-085-788 | THE WIRE: The Detail | Home Box Office, Inc.
PA 1-085-789 THE WIRE: The Buys | Home Box Office, Inc.
PA 1-085-790 | THE WIRE: OldCases | Home Box Oifice, Ine
PA 1-091-735 THE WIRE: The Pager | Home Box Office, Inc.
PA 1-091-734 THE WIRE: The Wire Home Box Office, Inc.
PA 1-085-791 THE WIRE: One Arrest Home Box Office, Inc.
PA 1-112-366 THE WIRE: Lessons Home Box Office, Inc.
PA 1-112-367 | THE WIRE:GameDay | Home Box Office, Inc.
PA 1-085-792 THE WIRE: The Cost . Home Box Office, Inc.
PA J-085-793 THE WIRE: The Hunt Home Box Office, Inc.
PA 1-112-891 THE WIRE: Cleaning Up '| Home Box Office, Inc.
PA 1-097-171 | THE WIRE: Sentencing | Home Box Office, Inc.
THE WIRE: Season Two Home Box Office, Inc.
PA 1-136-490 THE WIRE: Ebb Tide Home Box Office, Inc.

 

Warmer Bros. v. Mazalkov, et al.: First Amended Complaint -10-

 

 

 
Case 2

i0

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 11o0f13 Page ID #:306

 

PA 1-148-802

THE WIRE: Collateral
Damage

Home Box Office, Inc.

 

PA 1-194-679

THE WIRE: Hot Shots

Home Box Office, Inc.

 

PAu2-811-064

THE WIRE: Hard Cases

Home Box Office, Inc.

 

PAu2-803-274

THE WIRE: Undertow

Home Box Office, Inc.

 

PA 1-148-601

THE WIRE: All Prologue

Home Box Office, Inc.

 

PA 1-188-186

THE WIRE: Backwash

Home Box Office, Inc.

 

THE WIRE: Duck And

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PAu2-787-345 Cover Home Box Office, Inc.
PA 1-190-936 THE WIRE: Stray Sounds | Home Box Office, Inc.
PA 1-194-673 THE Waning Home Box Office, Inc.
PA 1-201-679 THE WIRE: Bad Dreams Home Box Office, Inc.
PA 1-201-678 | THE WIRE: PortInA | Home Box Office, Ine.
THE WIRE: Season Three
PA 1-246-492 THE WIRE: Time After Home Box Office, Inc.
PA 1-246-487 THE eesnodt Due Home Box Office, Inc.
PA 1-249-546 THE WIRE: Dead Home Box Office, Inc.
PA 1-249-545 THE WIRE: Amsterdam Home Box Office, Inc.
PA 1-249-550 | THE WIRE: Straight And | Home Box Office, Inc.
PA 1-249-549 THE WIRE: Homecoming | Home Box Office, Inc.
PA 1-263-206 THE WIRE: Back Burners | Home Box Office, Inc.

 

Wamer Bros. v. Mazalkov, et al.: First Amended Complaint -ll-

 

 

 
Case

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

:13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 12 of 13 Page ID #:307

 

THE WIRE: Moral

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PA 1-263-204 Midgetry Home Box Office, Inc.
PA 1-263-205 THE WIRE: Slapstick Home Box Office, Inc.
PA 1-263-201 THE WIRE: Reformation {| Home Box Office, Inc.
PA 1-265-461 THE WIRE: Middle | Home Box Office, Inc,
PA 1-265-512 TAT onpiiehed Home Box Office, Inc.
THE WIRE: Season Four
PA 1-325-037 THE WIRE: Boys Of | Home Box Office, Ine.
PA 1-325-038 THE WIRE: Soft Eyes Home Box Office, Inc.
PA 1-325-039 THE WIRE: Home Rooms} Home Box Office, Inc.
PA 1-261-149 THE WIRE: Refugees Home Box Office, Inc.
PA 1-261-150 THE WIRE: Alliances Home Box Office, Inc.
PA 1-261-132 THE WIRE: Margin Of Home Box Office, Inc.
PA 1-261-151 THE WIRE: Unto Others Home Box Office, Inc.
PA 1-261-345 THE WIRE: Corner Boys Home Box Office, Inc.
PA 1-261-344 | THE WIRE: Know Your | Home Box Office, Inc.
PA 1-353-972 THE WIRE: Misgivings Home Box Office, Inc.
PA 1-353-973 THE WIRE: A New Day Home Box Office, Inc.
PA 1-353-974 THE WIRE: That's Got Home Box Office, Inc.
PA 1-261-346 THE WIRE: Final Grades | Home Box Office, Inc.

 

 

 

 

 

Warmer Bros. v. Mazalkov, et al.: First Amended Conplaint -12-

 

 

 
Case 7

10

il

12

13

14

13

16

17

18

19

20

21

22

23

24

25

26

27

28

 

[13-cv-00889-DMG-DTB Document 16 Filed 08/09/13 Page 13 of 13 Page ID #:308

 

 

 

 

 

 

 

 

 

 

 

 

 

 

THE WIRE: Season Five
PA 1-611-976 | THE WIRE: More With | tome Box Office, Inc.
PA 1-608-34) | THE WIT Uconfimed | Home Box Office, Inc.
PA 1-798-349 THE WIRE: Not For | Home Box Office, Inc.
PA 1-663-138 THE WIRE: Transitions Home Box Office, Inc.
PA 1-617-062 THE WIRE: React Quotes | Home Box Office, Inc.
PA 1-617-057 Dichemon Aspect Home Box Office, Inc.
PA 1-622-694 — THE WIRE: Took Home Box Office, Inc.
PA 1-622-990 THE WIRE: Clarifications | Home Box Office, Inc.
PA 1-622-995 ‘THE WIRE: Late Editions | Home Box Office, Inc.
PA 1-622-993 THE WIRE: -30- Home Box Office, Inc.

 

 

 

Warner Bros, vy, Mazaikoy, et al.; First Amended Complaint -13-

 

 
